CaSe 2:04-cv-02425-tmp Document 58 Filed 07/21/05 Page 1 of 11 Page|D 85

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IN THE UNITED STATES DISTRICT COURT

FoR THE wEsTERN DISTRICT oF TENNESSEE 05 JUL 21 PH l¢.= 29
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BRENDA MEDRANO et al.,

Plaintiffs,
vs.

No. 04~2425 B[P

MCDR, INC. and M. A. MORTENSON
COMPANY,

Defendants.

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ORDER MODIFYING JUNE 19, 2005 ORAL RULING DENYING DEFENDANT
MORTENSON’S MOTION TO COMPEL

 

Before the court is defendant M. A. Mortenson Company's
(“Mortenson”) Motion to Compel, filed June l, 2005 (dkt #48). On
June 20, 2005, plaintiffs filed their response. On July 19, 2005,
the court held a hearing on the motion. Counsel for all parties
were present and heard. At the hearing, the parties informed the
court that based on recent developments in the case, several issues
raised in the motion to compel were now moot. Therefore, the only
issue addressed by the parties at the hearing was whether the
plaintiffs should be required to produce to Mortenson three witness
interviews that were conducted by plaintiffs’ counsel and recorded
on audiotape and/or videotape. At the conclusion of the hearing

the court, ruling from the bench, DENIED Mortenson's motion to

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CaSe 2:04-cv-02425-tmp Document 58 Filed 07/21/05 Page 2 of 11 Page|D 86

compel. The court hereby MODIFIES, sua sponte, its oral ruling as
follows:

This case arises from an accident that occurred on June 5,
2003, when two Mortenson employees working at a construction site
fell from some scaffolding. One of the workers, Rogelio Galvan,
died while the other worker, Jose Ruben Lara Buendia, suffered
severe injuries. Several months after the accident, sometime in
February and March, 2004, two attorneys who now represent the
plaintiffs interviewed employees of Mortenson and defendant MCDR,
Inc., in preparation for filing their lawsuit. Three of these
employees included Adrien Trejo, Geronimo Gerrero, and Armando
Delgado. The interviews were recorded either on videotape or
audiotape. In the present motion, Mortenson asks that the court
require the plaintiffs to produce the recordings of these three
interviews. Alternatively, Mortenson seeks an order prohibiting
the plaintiffs from making any use of these interviews at trial.1

Federal Rule of Civil Procedure 26(b) controls the scope of
discovery. Rule 26(b)(3) provides that:

a party may obtain discovery of documents and tangible

things otherwise discoverable. . . and. prepared in
anticipation of litigation or for trial by or for that

 

lMortenson's alternative request is essentially a motion to
exclude evidence, which is a non-dispositive motion. §§e
Lithuanian Commerce Corp. Ltd. v. Sara Lee Hosiery, 179 F.R.D.
450, 456 (D.N.J. 1998) (citing Ferriso v. Conwav Organization,
1995 WL 580197, at *l (S.D.N.Y. Oct. 3, 1995)(unpublished);
Jesselson v. Outlet Associates of Williamsburg, Ltd., 784 F.Supp.
1223, 1227-28 (E.D. Va. 1991)}.

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CaSe 2:04-cv-02425-tmp Document 58 Filed 07/21/05 Page 3 of 11 Page|D 87

other party’s representative (including the other party's
attorney, consultant, surety, indemnitor, insurer, or
agent} only upon a showing that the party seeking
discovery has substantial need of the materials in the
preparation of the party's case and that the party is
unable without undue hardship to obtain the substantial
equivalent of the materials by other means. In ordering
discovery of the materials when the required showing has
been made the court shall protect against disclosure of
mental impressions, conclusions, opinions, or legal
theories of an attorney or other representative of a
party concerning the litigation.
Fed.R.Civ.P. 26(b)(3). In Toledo Edison Co. v. G A Technologiesr
Inc., 847 F.2d 335 (6th Cir. 1988), the Sixth Circuit established
a sequential analysis that the court must use in determining
whether the work product privilege applies. First, the court must
determine whether the document is “otherwise discoverable under
subdivision (b)(l)," that is, that the document is relevant and not
privileged. Second, the party seeking to invoke the work product
privilege must show that the information. was {l) prepared. in
anticipation of litigation or for trial, and (2) prepared by that
party or its representative. Third, if such a showing is made, the
burden shifts to the party seeking disclosure of the document to
show (l) that the party has a substantial need for the information
and (2) that the party is unable to obtain the substantial
equivalent of the materials without undue hardship. Finally, even
if the party seeking the document shows substantial need and undue
hardship, the objecting party may avoid discovery by showing that

the document contains mental impressions, conclusions, opinions, or

legal theories of an attorney or other representative of the party

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CaSe 2:04-cv-02425-tmp Document 58 Filed 07/21/05 Page 4 of 11 Page|D 88

concerning the litigation. ld. at 339-340; see also Arkwright
Mutual Ins. Co. v. National Union Fire Ins. Co. Of Pittsburgh, No.

93-3084, 1994 WL 58999, at '*3 (61;1'1 Cir. F€b. 25, 1994); Guardsmark

 

lnc. v. Blue Cross and Blue Shield of Tenn., 206 F.R.D. 202, 206-07
(W.D. Tenn. 2002).

In this case, the three tape recordings at issue are work
product. According to plaintiffs' counsel, the interviews were
conducted by the plaintiffs' attorneys and involve questioning of
three fact witnesses about issues relevant to this lawsuit. §e§
Hickman v. Tavlor, 329 U.S. 495 (1947). The interviews took place
about eight months after the accident, and were conducted in order
to assist plaintiffs' counsel in gathering facts in preparation for
filing this lawsuit.

Mortenson has not demonstrated that it has a substantial need
for the information and that it is unable to obtain the substantial
equivalent of the materials without undue hardship. At the
hearing, Mortenson stated that it has recently deposed Trejo and
Gerrero without the benefit of having the taped interviews, and
expressed no concerns or problems about those depositions. “The
mere possibility that [prior] statements may have some impeachment
value does not create a substantial need for their production.”
Kintera, Inc. v. Convio, Inc., 219 F.R.D. 503, 509~10 (S.D. Cal.
2003)(denying motion to compel production of signed witness

statements); see also Gav v. P.K. Lindsav Co., 666 F.Zd 710, 713

CaSe 2:04-cv-02425-tmp Document 58 Filed 07/21/05 Page 5 of 11 Page|D 89

(1st Cir. 1981)(“it seems well-settled that there is in general no
justification for discovery of the statement of a person contained
in work product materials when the person is available to be
deposed . . . .”); Zenith Elec. Corp. v. WH~TV Broadcasting Corp.,
No. Ol C 4366, 2003 WL 219ll066, at *6 (N.D. Ill. Aug. 7,
2003)(unpublished)(“A court is not justified in ordering a litigant
to permit his adversary to inspect witness statements, which he has
procured in preparing for trial, upon the adversary's mere surmise
or suspicion that he might find impeachment material in the
statements.”)(quoting Hauger v. Chicaqo R.I. & P.R. Co., 216 F.2d
50l, 508 (7th Cir. 1954)); 814qu V. Whitake]’_`, 152 F.R.D. 501, 507-
08 (M.D.N.C. 1993)(stating that “a party must present more than
speculative or conclusory statements that the reports will contain
invaluable impeachment material” in order to overcome qualified
work product immunity).

Moreover, these interviews were conducted approximately eight
months after the accident (i.e. not contemporaneous statements
recorded at or near the time of the accident), and there is simply
no indication that the depositions are not a substantial equivalent
of the interviews. Cf. Smith v. Diamond Offshore Drilling, Inc.,
168 F.R.D. 582 (S.D. Tex. 1996)(transcripts of recorded interviews
conducted just a few days after accident would be more accurate
than statements that could now be obtained from same witnesses, and

thus plaintiff overcame qualified work product protection); Suggs,

CaSe 2:04-cv-02425-tmp Document 58 Filed 07/21/05 Page 6 of 11 Page|D 90

152 F.R.D. at 507 (“if a witness has no recollection of the events
of the accident, this loss of memory constitutes an inability to
obtain the substantial equivalent of the facts in the report by
other means.”).

Having concluded that the taped interviews are work product,
the court turns now to Mortenson's request that, should the court
conclude that the taped interviews constitute work product, the
court should prohibit the plaintiffs from using these interviews
for any purpose at trial. At the June 19 hearing, the court noted
that the Federal Rules governing both initial disclosures and pre-
trial disclosures specifically exclude production.of materials used
solely for impeachment purposes. gee Fed. R. Civ. P. 26(a)(1)(A)
and 26(a)(3). The court further observed that the District Judge's
pre-trial procedures form, which is attached to the trial setting
letter dated September 7, 2004, also excludes impeachment materials
from pre-trial disclosure. On this basis, the court ruled that
since the statements will only be used by the plaintiffs (if used
at all) for impeachment purposes at trial, the plaintiffs will not
be required to produce these statements prior to trial as a
condition for using them to impeach these witnesses at trial. Upon
further consideration, and after conducting additional review of
the case authority, the court concludes that this latter ruling was
erroneous.

Contrary to plaintiffs' argument at the hearing that

CaSe 2:04-cv-02425-tmp Document 58 Filed 07/21/05 Page 7 of 11 Page|D 91

impeachment materials are not discoverable by the opposing party,
courts in this circuit as well as other circuits have held that
impeachment materials are not excluded from discovery under the
Federal Rules. “A party may not, under any circumstances, hold
back materials responsive to a proper discovery request because it
prefers to use the evidence as surprise impeachment evidence at
trial.” Varga v. Rockwell Int’l Corp., 242 F.3d 693, 697 (6th Cir.
2001); see also Karr v. Four Seasons Maritime, Ltd., No. 02-3413,

2004 WL 797728, at *1-2 {E.D. La. April 12, 2004); Ward v. CSX

'I'ransp.c Inc., 161 F.R.D. 38, 39 (E.D.N.C. 1995). Exclusion of
impeachment materials from “disclosure" - for purposes of initial

disclosures and pretrial disclosures under Fed. R. Civ. P.
26(a)(1)(A) and 26(a)(3) - does not preclude a party from obtaining
“discovery” of those impeachment materials if those materials are
sought in a discovery request.2 As the court in Karr explained:
[N]othing in the Federal Rules permits a party to
refuse to produce impeachment evidence that is responsive
to an opponent's discovery requests. The only basis for
withholding such evidence is found in Rule 26(a)(1) and
(3). However, Rule 26(a) governs disclosures only, not

discovery.

Disclosure and discovery are two distinct and

 

2lt is undisputed that these tape recordings were included
in Mortenson's discovery requests. Specifically, Mortenson’s
document request numbers 6, 7, 25, and 26 ask the plaintiffs to
produce all statements {whether recorded or unrecorded) relating
to discussions with persons with knowledge or information about
matters alleged in the complaint. In response to these requests,
the plaintiffs asserted that the taped interviews are protected
by the work product doctrine.

CaSe 2:04-cv-02425-tmp Document 58 Filed 07/21/05 Page 8 of 11 Page|D 92

different procedural mechanisms. Disclosure is the
exchange of information required by the Federal Rules of
Civil Procedure without request. Discovery is a means by
which information may be obtained from others upon
request. . .. Merely because evidence to be used solely
for impeachment purposes is excluded fronl disclosure
under Rule 26(a)(1) and (3) does not mean that it is
protected from discovery' under‘ Rule 26(b) using the
traditional discovery devices listed in Rule 26(a)(5).

Thus, discovery parties are free to seek impeachment
evidence in discovery, as Karr has done here, and parties
responding to discovery are not entitled to withhold
impeachment materials on that ground.
ld. at *1-2 (emphasis in original}; accord Ward, 161 F.R.D. at 39;
Wright & Miller, Federal Practice and Procedure § 2015 (2d ed.
2003) .

In this case, the plaintiffs are on the one hand asking that
the recorded interviews be protected from disclosure as work
product, but on the other hand asking that they be allowed to use
the recordings, if the need arises, to impeach these witnesses at
trial. Given the court's conclusion that impeachment materials are
generally discoverable, this would result in the plaintiffs using
the work product doctrine as both a sword and a shield, and would
be contrary' to the Federal Rules’ goal of avoiding trial by
surprise. As one commentator has noted,

When a party uses work product in the course of a
trial or other proceeding, for example to impeach or
cross-examine, any work product privilege is waived. The
basis for the waiver is obvious: you cannot have your
cake and eat it too. If any attorney intends to rely on

a document in any testimonial fashion, the totality of
that document is put into issue and becomes discoverable.

CaSe 2:04-cv-02425-tmp Document 58 Filed 07/21/05 Page 9 of 11 Page|D 93

Edna Epstein, The Attornev-Client Privilege and the Work-Product
Doctrine, ABA Section of Litigation at 628 (4th Ed. 2001)(citing
cases).3

For these reasons, the court concludes that the plaintiffs
will not be required to produce these recorded interviews as part
of discovery. However, if the plaintiffs intend to attempt to use
these recorded interviews for impeachment purposes at trial, they
must produce these recordings to the defendants at least thirty
(30) days before trial.4 If the plaintiffs choose not to produce
these recordings, they shall be barred from using the recordings at
trial. See Snead v. American Export-Isbrandtsen Lines, 59 F.R.D.
148, 151 (E.D. Pa. 1973)(requiring the defense in personal injury
case to disclose surveillance films or be barred from showing them
at trial; “[i]f the defense has films and decides it want to use
them, they should be exhibited to the plaintiff and his counsel.”);
see also Weqner v. Cliff Viessman, Inc., 153 F.R.D. 154, 159-60
(N.D. Iowa 1994).

Finally, regarding Mr. Delgado, the court will allow the

parties to depose him prior to trial. If the parties are unable to

 

3Moreover, there is nothing to prevent the plaintiffs from
asking these witnesses in their depositions the same questions
asked during their 2004 interviews, and using the deposition
testimony instead of their interviews to impeach them at trial.

4Of course, whether or not the trial judge will allow these
types of statements to be used for impeachment is a separate
issue and not one addressed in this order.

_9_

CaSe 2:04-cv-02425-tmp Document 58 Filed 07/21/05 Page 10 of 11 Page|D 94

locate Mr. Delgado or otherwise take his deposition, Mortenson may
renew its motion with respect to his recorded interview.

IT IS SO ORDERED.

 

TU M. PHAM
United States Magistrate Judge

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Date G

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UNITED `STATS DISTRIC COURT - WESTERN D"STRCT oFTi\INEESSEE

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Robert B. Hale

GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

l\/lemphis7 TN 38103

Ralph Noyes

LAW OFFICE OF RALPH NOYES
4087 Summer Ave.

Ste. 216

l\/lemphis7 TN 3 8122

Kirk A. Caraway
ROSENBLUM & REISMAN
80 Monroe Ave.

Ste. 950

l\/lemphis7 TN 38103

David J. Goldstein

FAEGRE & BENSON LLP
90 S. Seventh St.

2200 Wells Fargo Center
l\/linneapolis7 MN 55402--390

Mark Anthony Lambert

ALLEN SUMMERS SIMPSON LILLIE & GRESHAl\/l7 PLLC
80 Monroe Ave.

Ste. 650

l\/lemphis7 TN 38103--246

Jeffrey S. Rosenblum
ROSENBLUM & REISMAN
80 Monroe Ave.

Ste. 560

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

